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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


                                               Crim. No, 10—633 (SRC)
                                               Hon. Stanley R, Chesler


                                               ORDER MODIFYJ.NG CONDITIONS OF
                                               DEFENDANT CICHY’S RELEASE


             This matter having been opened sua sponte by the Court

at a pre-trial hearing held on Monday,             May 9,     2011,    in the

presence of the United States,        by Paul J.       Fishman,       United States

Attorney for the District of New Jersey             (Matthew E.       Beck and

Shirley U.    Emehelu,     Assistant United States Attorneys,             appearing)

and defendant Zbigniew Cichy        (Parker Waggaman,         Esq.,    appearing),

for an order modifying the conditions of defendant Zbigniew

Cichy’s release pending trial in the above—entitled matter,                       the

Court hereby makes the following findings:

             1.   Having considered the factors set forth in Title

18,   United States Code,     Section 3142(g),       the Court finds,           for the

reasons stated from the bench,        that the existing conditions of

release will not reasonably assure the appearance of defendant

Cichy as required.

             IT IS,   therefore,   on this           day of May,       2011.,

             ORDERED,    pursuant to Title 18,       United States Code,

Section 3142,     that defendant Cichy’s conditions of release be

modified a... s follows:
Ft        0                     H-        hi        H-   C)     Di   U)    CD    H-
Di        C)         CD         U)   Di    D        U)   0     CD    0     Ft    Di
Ft        C)         hi              H                   Di    C)    )C:   CD    C)
Ft        Di         CD         Ft   Di   H         Ft   hi    CD    Di    C)    Di
          hi         U)         Di                  Di   Ft    U)          Ft    hi
CD                              hi   U)   H-        hi         U)    Di    hi    C)
Ft        Di                    Ft   0    0         t     Di   H-    Di    C)    CD
Ft        Ft         hi         U)        Di        U)   U).   Ft    U)    Di    hi
CD                   CD         CD   Di   U)        CD   U)    H-          H-   Di
C)        Ft                    hi                  hi    CD   CD    C)    C)   Ft
Ft   0    U)   0     0    0               U)   0          Di   U)    Di         H     0
          CD              U)              CD   U)         hi   -     Di    )    0     U)
     U)              CD   U)              hi   U)         Di         Di    C)   Di    U)
     U)   U)   U)    U)   U)         U)   hi   U)         Di   )     0     Di         U)
          CD              U)         0    H-   U)         C)   CD    Ft    H-   )     U)
     U)   Ft   U)         U)              C)   U)        CD    U)          Ft   H-    U)
     U)   CD   U)    Di   U)              CD   U)        U)    H-    Ft    0    rt    U)
          Di         Di              Di   U)                   C)    CD    hi   U)
     Ft        Ft
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          U)         U)   Ft         U)        Ft              Di    Di    H          Ft
     U)   Di   U)         :3-        Ft   0    U)        )C    Ft    hi    Di   Di    U)
     Di   Di   Di    Ft   Di              Di   Di        H-          CD    Q    C)    Di
     Ft   Ft   Ft         Ft         ti   CD   Ft        Ft    CD          *    Ft    Ft
          U)                         CD                  U)          U)         H-
     Di        Di    Ft   Ft              Ft   Ft              CD    H-         <1    Ft
     Ft        Di    U)   U)         Di   H    U)        U)    hi    U)    Ft   CD    U)
     Ft   hi              CD         H-        CD        ti    C)          U)         CD
          CD         Ft              Di   CD             H-    CD    U)    CD   CC)
          U)   Li-   Di   U)                             C)
                                               U)              Di    0          Ft    U)
     hi   Ft   0     hi   CD         H-        CD        hi    C)    )     U)   0     CD
     H-   U)   H-    Ft   Ft         Di   CD   Ft              H-    CD    CD   U)    Ft
     0    CD   Di    U)   CD              hi   CD        Di    CD          Ft   Di•   CD
     hi   Di   Ft    CD   Di         Ft
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                                               Di        0     U)    CD    CD   Ft    Di
          C)         hi   U)                   U)        Ft    -     X     Di         U)
     C)   CD   U)         Di         CD   CD   Di        H-          C)    U)   U)    Di
     0         CD         Di              CD   Di        C)    Di    CD    Di   0     Di
     Di        Ft         Ft         hi        Ft        CD    Ft    U)         U)    Ft
     U)   Di   CD                    CD                        Ft    Ft    Ft   H-
     H-   Di   Di         U)         U)        H-        Ft    0                Ft    U)
     Ft   U)   U)                    H-   U)   U)        0     hi    Ft    H-   H-    CD
     H         CD         U)         U)   CD                   Di    0     U)    0
     0    H-              CD         CD        Di        U)    CD                Di   C)
     Di   Ft   C)         hi         Di   Di   Ft        hi    <     Di    Ft    H-   0
     U)        0                     C)   hi   Ft        CD          Ft    0     Di   C)
          H-   Di         H-         CD   Di   0         Ft    Di    Ft         cC)
          U)
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     0         Di         U)              Ft             hi    U)    CD    U)         H-
     Ft        U)         U)         Di   CD   CD        H-    U)    Di    CD   (I)   Ft
          Ft   CD         H-         Ft        U)        Di    0     Cl               Ft
     hi   Di   Ft         0               Ft             Ft    H-          0    U)    CD
     CD   hi              Di         Ft   hi   Ft              Di    Ft    Di   Ft    U)
     Ft   Ft                         U)   0    0         Ci)   Ft    0          CD
     CD   U)   CD         Ft         Di                  CD    C           to         Ft
     Di   CD   CD         0          Ft        Di        hi    CD    C                0
     U)   hi   Ft                         C)   Ft        hi    Di    CD     i
     CD        H-                    Ft   0    Ft        Ft    Ft    U)    U)         U)
               Di         0          H         CD        C)    U)    Ft    0    Di)   0
     hi                   hi                   Di        CD          C)    Di   U)    C)
     CD        U)                    CD   CD   U)        U)          Di    hi   U)    CD
                                          Ft             ‘     Di    Ft
     Di                   H-              CD                   Di          Ft
     H-        Di         U)         Di   Di             Di    U)          0
     Di        U)                    Di   U)             Di                C)
               Ft                    U)   Di             U)
     H-                                   Di
     Di                              H-   Ft             H
                                     Ft                  Ft
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